     Case 22-22062-CMB          Doc 36     Filed 04/26/23 Entered 04/26/23 15:40:03              Desc Main
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Form 209
                                 UNITED STATES BANKRUPTCY COURT                        23 − 20
                                 WESTERN DISTRICT OF PENNSYLVANIA                      dkro
In re:
Clifford W. Cuddy                                         Bankruptcy Case No.: 22−22062−CMB
dba Cuddys Construction                                   Chapter: 7
Debtor(s)
Ave Maria Dlubak
          Movant,                                         Related to Document No. 34 and 35-2
v.
Clifford Cuddy d/b/a Cuddy's Construction                 Hearing Date: 5/23/23 at 10:00 AM
          Respondent.                   CERTIFICATE OF SERVICE
  Louis J. Kroeck IV, Esquire
I,____________________________________,       LJK LAW, PLLC
                                        of ** ___________________________________________

1200 Sarah Street, Pittsburgh, PA 15203, Counsel for Plaintiff
______________________________________________________________________________________

______________________________________________________________________________________

CERTIFY:

   That I am at least 18 years of age:
               26th day of _________________________,
   That on the _____         April                           2023
                                                             __________,  I served a copy of the within Order
Setting Date Certain together with the Motion filed in this proceeding, on:
Clifford Cuddy d/b/a Cuddy's Construction
Gino F. Peluso, Esquire
Attorney for Debtor & Defendant Clifford W. Cuddy d/b/a Cuddy's Construction
Lisa M. Swope, Esquire
Chapter 7 Trustee Clifford W. Cuddy d/b/a Cuddy's Construction



on the Respondent(s) in this proceeding, by (describe the mode of service):
Clifford Cuddy d/b/a Cuddy's Construction via First-Class U.S. Mail
Gino F. Peluso, Esquire via Email
Lisa M. Swope, Esquire via Email
at the following address(es):      Clifford W. Cuddy d/b/a Cuddy's Construction
                                   1245 Lenape Road
                                   Ford City, PA 16226

                                   Gino F. Peluso, Esquire
                                   gp@attorneypeluso.com

                                   Lisa M. Swope, Esquire
                                   lms@nsslawfirm.com
I certify under penalty of perjury that the foregoing is true and correct.


            April 26, 2023
Executed on _________________________                    /s/ Louis J. Kroeck IV, Esquire
                                                         ___________________________________
                       (Date)                                                 (Signature)


**Indicate Current Mailing Address
